                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Monica Borja,                               :       Chapter 13
                                                   :
                      Debtor                       :       Bky. No. 23-11645 (PMM)


                         ORDER TO SHOW CAUSE WHY
                    DEBTOR’S CASE SHOULD NOT BE DISMISSED

       AND NOW, the docket reflecting that this case was filed in violation of a prior order of

this court dated February 4, 2022, (see Bky. No. 22-10001, Doc. # 18);

       It is hereby ORDERED that a hearing shall be held on Tuesday, June 20, 2023 at 11:00

a.m. in the United States Bankruptcy Court, Gateway Building, Fourth Floor Courtroom,

201 Penn St., Reading, PA 19601 to consider whether this bankruptcy case should be

DISMISSED as having been filed in violation of a prior court Order.




Date: 6/5/23
                                            HON. PATRICIA M. MAYER
                                            U.S. BANKRUPTCY JUDGE
